1. A stoppage of work which exists because of a labor dispute at the factory, establishment, or other premises at which an employee is or was last employed, within the meaning of § 54-610 of the Code Supplement, commences at the place of employment when a definite curtailment in operations occurs by reason of a labor dispute and ends when such operations are resumed on a normal basis.
2. The disqualification of the employees for unemployment benefits under the Unemployment Compensation Law was ended in the instant case when the operations at the plant of the employer were resumed on a normal basis after the stoppage of work due to the labor dispute, they not having been restored to their jobs upon reporting for work.
3. The judgment of the superior court affirming the decision of the Board of Review in the instant case is without error.
       DECIDED FEBRUARY 24, 1949. REHEARING DENIED MARCH 24, 1949.
The plaintiff in error, M. A. Ferst, Ltd., herein referred to as the employer, filed its petition in the Superior Court of Fulton County against the defendants in error, Ben T. Huiet, as Commissioner of Labor of the State of Georgia, herein referred to as the commissioner, and Carrie Singleton and others, herein referred to as the employees, under and by virtue of § 54-619 of the Code (Ann. Supp.), excepting to the finding of the Board of Review (provided for by the Unemployment compensation Law), upholding the decision of the appeals referee to the effect that the employees are eligible for benefits. The contentions of the employer as disclosed by its petition are as follows: "(a) The Board of Review erred in holding that each of the claimants was eligible for benefits in view of the evidence which clearly shows that the unemployment of the claimants was due to a stoppage of work which exists because of a labor dispute at the factory or establishment at which they were last employed, in which dispute the claimants were participating and financing, and were directly interested, and claimants belonged to a grade or class of workers of which immediately before the commencement of the stoppage there were members employed at the premises at which the stoppage occurred, any of whom were participating in and financing and were directly interested in the dispute, and *Page 856 
that the stoppage of work due to a labor dispute continues. (b) the Board of Review erred in construing the phrase, "Stoppage of work which exists because of a labor dispute at the factory, establishment or other premises at which he was last employed,' as used in Sec. 54-610 (d) of the Code of Georgia Annotated, to mean a stoppage of operations by the employer and not a stoppage of work by the employees themselves, and by holding that, therefore, where the employer manages to resume operations, the disqualification of the striking employees is removed, even though the labor dispute has not ceased and the striking employees admittedly stopped work because of such labor dispute. (c) The findings of fact by the Board of Review are not complete, in that it omitted the following facts brought out by the evidence, to wit: that all of the claimants were striking employees and had stopped work because of a labor dispute which existed at the factory or establishment at which they were last employed; that all of the claimants were represented in such labor dispute and in such strike by a duly certified bargaining agent, to wit, Local No. 315 of the Wholesale, Retail and Department Store Union, affiliated with the C.I.O.; and that such bargaining agent called a strike and immediately notified the employer that a strike had been called; and that such strike has never been called off or terminated by the bargaining agent and it is still officially in progress, although the employer has managed to resume operations. Only the picketing has ceased, and this may be resumed at any time by the Union. The claimant's stoppage of work was, therefore, due to a labor dispute which continues, even though the employer's operations have been resumed."
The evidence authorized findings of fact, as follows: that the employees involved in this litigation were members of Local 315 of the Wholesale, Retail and Department Store Union, affiliated with the C. I. O., on August 16, 1947; that prior to that date the employer and the employees had been working under a contract secured by a representative of this Union on behalf of the employees as their bargaining agent; that on said date the bargaining agent of the Union had been negotiating with the employer for the renewal of the contract at an increase in pay to the employees; that on said date no agreement had been reached; that on August 18, 1947, the bargaining agent of the Union *Page 857 
called a strike; that the employees involved in this litigation came out on this strike and assisted at the picket lines which were maintained until September 20; that immediately upon the calling of the strike about one half the employees, or approximately 100, refused to report for duty; that after approximately the first week of the strike different ones of the employees began to return to work and others continued to return until the picket lines were withdrawn September 20; that immediately upon the calling of the strike and during the first week thereof, some of the departments of the employer functioned normally and other departments were shut down entirely; that the operation at the plant gradually increased until on or about September 22 the normal pre-strike production was attained; that on or about September 22 the employees involved in this litigation reported to the plant for duty and were informed that their jobs had been filled by others; that they thereupon registered for re-employment and interposed claims with the Department of Unemployment Compensation for benefits under the terms of the act; that the initial findings were in favor of the eligibility of the employees; that upon appeal to the Board of Review these findings were affirmed; and that thereupon the employer brought the case to the superior court. The exception here is to the judgment of that court affirming the decision of the Board of Review.
1. Section 54-610 of the Code (Ann. Supp.) provides in part as follows: "An individual shall be disqualified for benefits — . . (d) For any week with respect to which the commissioner finds that his total or partial unemployment is due to a stoppage of work which exists because of a labor dispute at the factory, establishment or other premises at which he is or was last employed, but he has not been restored to such last employment, his disqualification for benefits under this subsection shall be deemed to have ceased at such time as the commissioner shall determine such stoppage of work to have ceased and such operations to have been resumed."
Counsel for both sides concede that this case turns upon a *Page 858 
proper construction of the phrase in the act, "stoppage of work which exists because of a labor dispute at the factory, establishment, or other premises at which he is or was last employed." Counsel for the employer contends that this phrase refers to a stoppage of work by the employee, and that these employees are disqualified for benefits because the stoppage of work meant their stopping work on account of a strike of which the employer was notified, which strike is still in existence because the employer has never been given notice of its discontinuance. Counsel for the commissioner and the employees contend that the term refers to a substantial curtailment of operations at the factory, establishment, or other premises at which the employee is or was last employed. This provision of the act has not heretofore been construed by the appellate courts of our State. Counsel for the employer rely for their interpretation of this provision of our statute on Board of Review v.
Mid-Continent Petroleum Corp., 193 Okla. 36 (141 P.2d 69), decided by the Supreme Court of Oklahoma in 1943, in construing a provision of the Oklahoma statute very similar to the provision of our statute under consideration. This decision was by a divided bench of seven to two and contains a dissent in accordance with the contentions of counsel for the commissioners and the claimants. The decision of the majority therein has also been criticised by other courts as being unsound. See Sakrisonv. Pierce, 66 Ariz. 162 (185 P.2d 528).
The contrary view is also held in Lawrence Baking Co. v.
Michigan Unemployment Compensation Comm., 308 Mich. 198
(13 N.W.2d, 260, 154 A.L.R. 660); Magner v. Kinney, 141 Neb. 122
(2 N.W.2d, 689); In re Steelman, 219 N.C. 306 (13 S.E.2d 544); Saunders v. Maryland Unemployment Compensation Board ___ Md. ____ (53 A.2d, 579); Carnegie-Illinois Steel Corp.v. Review Board of Indiana (Ind.App.), 72 N.E.2d, 662; Deshler Broom Factory v. Kinney, 140 Neb. 889
(2 N.W.2d, 332). In addition to this persuasive authority, a careful study of our own statute also strongly indicates that the stoppage of work referred to therein means at the place of work rather than stoppage on the part of the individual worker. See use of the term in the Code (Ann. Supp.), § 54-610 (d). Clearly this term refers to stoppage at the place of work rather than stoppage on the part of the worker. *Page 859 
2. The evidence amply authorized the finding that the unemployment of the employees herein was due to a stoppage of work which existed because of a labor dispute at the factory at which they were last employed; that it began on August 18, 1947, and continued until September 20, 1947; that on the latter date normal operations had been resumed at the factory, but the employees had not been restored to their employment; that on said latter date the stoppage of work due to the labor dispute had therefore ceased; and that the employees, upon reporting for duty on September 22 and being refused re-employment, were no longer disqualified for benefits under the Unemployment Compensation Law.
3. It follows that the judge of the superior court did not err in affirming the decision of the Board of Review.
Judgment affirmed. MacIntyre, P. J., and Gardner, J.,concur.